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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Inre: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” in the Gulf of Mexico, on
April 20, 2010
SECTION: J
JUDGE BARBIER

MAGISTRATE JUDGE SHUSHAN

DECLARATION OF MICHAEL ALLEN SCOTT, CPA, CFF

1. My name is Michael Allen Scott and I previously submitted a Declaration in this case on
November 4, 2013, which is respectfully incorporated by reference herein.

2. Ihave reviewed each of the declarations of Wendy Bloom, Hal Sider and Brian Gaspardo
(Declarants) submitted in this matter and state as follows:

3. During the months of October and November 2011, actual financial data from potential
claimants was provided by the PSC for purposes of analyzing and testing various
concepts being discussed by both Parties. As I recall, there was no one particular purpose
for the exercise. In fact both sides tested data, reconciled results and were using these
results to negotiate other items including EBITDA v Variable Profit, fixed and variable
expenses, and the number of months to be included in the claim calculations, to name a
few. This was not to be a limitation of but rather a facilitation of discussion points in
deriving the agreed upon methodology for loss calculations.

4. As part of the production of financial data referenced above, BP representatives were
provided actual business test case P&Ls which were used to apply aspects of the
negotiated BEL methodology, including a Step -1 calculation. Along with the P&Ls, an
industry designation or identification was included for approximately 75 of the 80 or so
test cases. Also, on many of the test case P&Ls the basis of accounting used was
identified (e.g. cash or accrual). Tax returns were not provided in these test cases because
the returns are not used directly in the calculation of the monthly variable profit, but
instead are used as a method for corroborating the yearly totals of contemporaneously
prepared P&Ls.

5. The Declarants assert that “BP lacked the necessary information to determine whether the
claimant data “properly matched revenues and expenses” and that accordingly, the
calculations “performed as part of the exercise did not require or involve accuracy of the
P&Ls or consideration of whether expenses and revenue were recorded in the appropriate
months.”
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6. In order to perform a Step-1 BEL calculation, monthly revenues and variable expenses
have to be compared over periods of time to arrive at a Step-1 result. Any calculation of
variable profits would utilize some type of Excel or other accounting formatted
spreadsheet for data input of revenues and expenses. Depending on the spreadsheet
format, monthly revenues, expenses and variable profits could be analyzed side by side
over periods of time. I am certain that BP’s representatives, including Mr. Sider, would

have utilized such spreadsheets in order to perform a Step 1 BEL calculation.

7. Ifnot clear from analyzing the actual test case profit and loss statements themselves, it
would have most certainly been clear to BP representatives from their own calculation
spreadsheets that the matching triggers or thresholds (including monthly revenue spikes,
negative variable profits, and/or wide variations in monthly variable profit), which BP
now asserts necessitates the matching of revenues and expenses, were present in some of

the test cases.

8. In essence, BP was provided with more than enough information to be able to calculate a
claim for any of the test cases provided and had the opportunity to study and/or observe
any monthly trends/triggers, including those now promulgated by BP, from this
voluminous sample of potential claimants. Yet, there were no discussions by anyone

regarding the reporting of revenue or the “matching of revenue and expenses.”

9. Mr. Gaspardo states in paragraph 7 of his declaration that “Mr. Scott, proposed that the
test for whether a given expense qualified as a variable expense would be whether the
expense changed as revenue changed — in other words, whether the expense varied with
revenue.”’ Mr. Gaspardo also states he “understood this definition of variable expense as
a clear recognition by the PSC and its accounting advisors that a variable expense must

inherently be tied to the revenue generated by that expense.”

10. Mr. Gaspardo has asserted his understanding of a variable expense in his Declaration.
However, in the context of this discussion, I proposed a test for discussion purposes to
aid in the determination of expenses being classified as fixed or variable during a
brainstorming session attended by both Parties. The concept being that some expenses
occur regardless of whether or not revenue is generated each month, while other expenses
are driven by revenue. I did not state in this discussion or any other, that a variable
expense must be tied to the revenue generated by that expense. My suggestion was
merely mentioned for brainstorming purposes in the course of negotiations, but this idea
was not pursued. Instead, the Parties agreed to Exhibit 4D of the Settlement Agreement
(Attachment A — Fixed and Variable Cost) to determine whether an expense should be
treated as fixed or variable. Furthermore, there are expenses included in Exhibit 4D that
are not, by nature, tied to revenue generation. For example, Drug Testing and Repairs
(excluding Maintenance) are expenses agreed upon by both Parties to be treated as

variable expenses, but neither is driven by revenue.
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11. Mr. Gaspardo further states in paragraph 8 of his declaration that “/r/epresentatives of
both parties also stated that they recognized that monthly financial statements from
claimants would often be unreliable and that to ensure statements were relevant and
reliable the Claims Administrator would be required to review the statements submitted

by claimants, request additional documentation, and make adjustments.”

12. To my knowledge, I nor anyone I had discussions with stated that monthly financial
statements from claimants would “often” be “unreliable” and the only adjustments
discussed in the meetings I attended were those having to do with the classification of
fixed vs. variable expenses within a month and other minor categorical issues. I certainly
do not recall making any statement that the Claims Administrator would be “required” to
make adjustments. In fact, I cannot find in the Settlement Agreement where it states that
the Claims Administrator is “required” to make adjustments. Furthermore, there is no
language in the Settlement Agreement pertaining to any of Mr. Gaspardo’s “relevant” or

“reliable” financial statement criteria referenced above.

I declare under penalty of perjury that the foregoing is a true and correct statement of my

analysis and opinions.

Michael Allen Scott, CPA, CFF

Dated: November 12, 2013
